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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  ERIN ALDRICH, LONDA BEVINS,
  JESSICA JOHNSON, AND BEATA
  CORCORAN, individually and on behalf of
  all others similarly situated,

                 Plaintiffs,
                                                     Case No. 1:20-cv-02310-JRS-MPB
         vs.

  NATIONAL COLLEGIATE ATHLETIC                       Judge:    Hon. James R. Sweeney II
  ASSOCIATION and THE BOARD OF
  GOVERNORS OF THE NATIONAL
  COLLEGIATE ATHLETIC ASSOCIATION,

                 Defendants.


     DEFENDANTS NATIONAL COLLEGIATE ATHLETIC ASSOCIATION AND ITS
      BOARD OF GOVERNOR’S MOTION TO DISMISS AND/OR STRIKE SECOND
                        AMENDED COMPLAINT

         Defendants the National Collegiate Athletic Association (“NCAA”) and its Board of

  Governors (collectively, “Defendants”) respectfully move the Court to dismiss the claims in the

  Second Amended Complaint (“SAC”). In support of this Motion, Defendants file

  contemporaneously herewith their Memorandum in Support of their Motion to Dismiss and/or

  Strike Second Amended Complaint together with the Declaration of Carolyn Hoecker Luedtke in

  Support of Defendants’ Motion to Dismiss and/or Strike Second Amended Complaint and its

  accompanying exhibit (excerpts to the NCAA 2020-21 Manual), attached hereto as Exhibit A.

  This Motion is further supported by all pleadings and papers on file in this matter, and upon any

  other evidence and argument that may be presented to the Court on this Motion.

         WHEREFORE, the NCAA and its Board of Governors respectfully request that the Court

  grant this Motion and dismiss the claims in the SAC.
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  DATED: November 13, 2020         FAEGRE DRINKER BIDDLE & REATH LLP



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                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 13, 2020, a copy of the foregoing was filed

  electronically with the Clerk of the Court using the Court’s CM/ECF system. Parties may access

  this filing through the Court’s system.

  DATED: November 13, 2020                  FAEGRE DRINKER BIDDLE & REATH LLP



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